                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci,                                  Case No. 19-54531-lsg

                                                     Hon. Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter,

              Plaintiff,

v.

Melinda J. Adducci,                                  Adversary Pro. No. 20-04381

     Defendant.
_________________________________________/

                                JOINT PRETRIAL

         Plaintiff, Thomas T. Ritter (“Plaintiff”) and Defendant, Melinda Adducci

(“Defendant”), by and through their respective attorneys, hereby submit this Joint

Pretrial Order for the trial in the above-captioned adversary proceedings to be held

on October 16, 2024.

     1. Jurisdiction




 20-04381-lsg     Doc 190   Filed 09/30/24   Entered 09/30/24 21:24:11   Page 1 of 30
      Plaintiff and Defendant stipulate that this court has jurisdiction over this

matter under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C.

§ 157(b)(2)(F), (H) and (O).

   2. Plaintiff’s Claims

      1.     Plaintiff seeks a determination of nondischargeability pursuant to

section 523 of Title 11 of the United States Code (the “Bankruptcy Code”) as to his

North Dakota judgment against Defendant in the amount of $17,140,031.62 (the

“North Dakota Judgment”)which is comprised of $16,414,214.61 (the “Yellow Rose

Judgment Amount”) and $725,817.01 (the “Promissory Note Judgment Amount”)

arising out of Defendant’s fraudulent transactions with Plaintiff including fraudulent

representations regarding the purported “purchase and resale” of a 77.12-carat

yellow diamond ring coined, The Yellow Rose, as well as a series of promissory

note transactions between and among Defendant, her husband and business partner

Joseph DuMouchelle (“Joseph”) and their business, Joseph DuMouchelle Fine &

Estate Jewellers, LLC (“DuMouchelle Jewellers”).

                A. Nondischargeability 523(a)(2)(A) The Yellow Rose

      2.     Plaintiff transferred $12 million to DuMouchelle Jewellers, under

Defendant’s false pretenses, false representations or actual fraud.




                                            2
 20-04381-lsg   Doc 190    Filed 09/30/24       Entered 09/30/24 21:24:11   Page 2 of 30
      3.     Defendant individually, and as an agent of DuMouchelle Jewellers, led

Plaintiff to believe that he had the opportunity to purchase and resell The Yellow

Rose at a profit.

      4.     For example, Defendant transmitted the data package that contained

photos and specifications of The Yellow Rose, and Defendant affirmed to Plaintiff

in a phone call that the purchase of The Yellow Rose would be a good investment.

      5.     Thereafter, Plaintiff initiated his $12 million wire-transfer transaction

to a bank account that he was led to believe belonged to the seller of The Yellow

Rose when, in fact, the bank account belonged to DuMocuhelle Jewellers of which

Defendant was a member and employee.

      6.     It is undisputed that Defendant was the only signer on the bank account

at the time of receipt of the $12 million and it is undisputed that Defendant made use

of Plaintiff’s $12 million for other purposes that did not include acquisition of The

Yellow Rose.

      7.     In fact, The Yellow Rose was never purchased or resold for Plaintiff’s

benefit.

      8.     Moreover, Plaintiff never received a return of his $12 million.

      9.     As a result of the fraud against Plaintiff, Defendant is liable to Plaintiff

for his damages incurred and the North Dakota Judgment entered against Defendant.




                                               3
 20-04381-lsg       Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 3 of 30
      10.      Therefore, Plaintiff’s North Dakota Judgment against Defendant

should be determined nondischargeable pursuant to section 523(a)(2)(A) of the

Bankruptcy Code.

                  B. Nondischargeability 523(a)(2)(B) The Yellow Rose


      11.      Plaintiff transferred $12 million to DuMouchelle Jewellers on the

reliance of the use of written statements among others, the January 30, 2019 Letter

Agreement, Purchase of the Yellow Rose (“The Yellow Rose Agreement”) and the

April 12, 2019 Letter of Authority re The Yellow Rose signed by Sam Haggin,

wherein Defendant made use of these and other writings that were materially false.

      12.      The false written statements were made on behalf of Joseph and

DuMouchelle Jewellers, insiders of Defendant.

      13.      The Yellow Rose Agreement and related written statements reflected

DuMouchelle Jewellers’ financial condition in that it was a representation that

DuMouchelle Jewellers had located a buyer who would purchase The Yellow Rose.


      14.      The Yellow Rose Agreement and other written statements transmitted

to Plaintiff regarding The Yellow Rose were materially false, in fact, all written

representations about the purported purchase and resale of The Yellow Rose were a

fabrication.




                                             4
 20-04381-lsg     Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 4 of 30
        15.   Plaintiff relied in part on The Yellow Rose Agreement and other written

statements when he initiated the wire transfer of his $12 million to the purported

seller of The Yellow Rose.

        16.   Defendant, as an owner of DuMouchelle Jewellers caused publication

of The Yellow Rose Agreement with the intent to deceive Plaintiff.

        17.   Plaintiff was damaged as a result of the materially false statements in

The Yellow Rose Agreement.

        18.   Therefore Plaintiff’s North Dakota Judgment against Defendant should

be determined nondischargeable pursuant to section 523(a)(2)(B) of the Bankruptcy

Code.


                 C. Nondischargeability 523(a)(4) The Yellow Rose


        19.   Plaintiff’s $12 million that he wired to the DuMouchelle Jewellers’ was

obtained through larceny or embezzlement.


        20.   Based on representations of Defendant, Joseph and DuMouchelle

Jewellers, Plaintiff believed his wire transfer of the $12 million was transmitted to

the seller of The Yellow Rose, however, the Borrowers directed the wire to the

DuMouchelle Jewellers bank account instead.




                                            5
 20-04381-lsg    Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 5 of 30
          21.   Once Plaintiff’s $12 million reached the DuMouchelle Jewellers bank

acocunt, Defendant personally transferred Plaintiff’s proceeds to purposes other than

the purchase of The Yellow Rose. In fact, The Yellow Rose was never purchased

nor resold for Plaintiff, Defendant never purchased The Yellow Rose and neither

Joseph nor DuMouchelle Jewellers purchased The Yellow Rose.

          22.   Plaintiff never received a return of his $12 million and was injured as a

result.

          23.   Therefore, Plaintiff’s North Dakota Judgment against Defendant should

be determined nondischargeable pursuant to section 523(a)(4) of the Bankruptcy

Code.

                   D. Nondischargeability 523(a)(6) The Yellow Rose

          24.   Defendant willfully and maliciously injured Plaintiff wherein

Defendant knew or should have known that Plaintiff intended to transfer $12 million

for the purchase of The Yellow Rose. Neither Defendant, Joseph nor DuMouchelle

Jewellers purchased The Yellow Rose and instead, Defendant made use of Plaintiff’s

$12 million for other purposes.

          25.   Defendant’s willful and malicious injury to Plaintiff includes but is not

limited to Defendant’s tortious interference with Plaintiff’s business expectations –

that he anticipated, that he had purchased The Yellow Rose and would thereafter

receive a profit on the resale of The Yellow Rose.



                                               6
 20-04381-lsg      Doc 190    Filed 09/30/24       Entered 09/30/24 21:24:11   Page 6 of 30
      26.   Plaintiff had a business relationship or expected to establish one with

the seller of The Yellow Rose based on an agreement orchestrated by Defendant

together with Joseph and DuMouchelle Jewellers.

      27.   As set forth in The Yellow Rose agreement, Plaintiff expected to realize

a profit from the acquisition and resale of The Yellow Rose.

      28.   Defendant knew about the relationship that Plaintiff expected to

establish with the seller of The Yellow Rose and Defendant knew Plaintiff

transferred his $12 million for the purchase of The Yellow Rose.

      29.   Defendant intentionally interfered with the relationship wherein she

knew Plaintiff would deposit his $12 million into the Bank of America Account

(defined below) to acquire The Yellow Rose, notwithstanding, Defendant made use

of the $12 million for purposes other than the acquisition of The Yellow Rose.

      30.   Defendant’s interference was improper.

      31.   Defendant’s conduct prevented Plaintiff from benefiting from the

acquisition and resale of The Yellow Rose for a profit.

      32.   Defendant’s conduct resulted in damages to Plaintiff including but not

limited to his loss of $12 million and the resulting North Dakota Judgment.

      33.   Defendant’s tortious interference in The Yellow Rose transaction

demonstrate that Defendant willfully and maliciously injured Plaintiff.




                                           7
 20-04381-lsg   Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 7 of 30
        34.      Defendant’s use of Plaintiff’s $12 million for purposes other than the

acquisition of demonstrate Defendant willfully and maliciously injured Plaintiff.

        35.      Therefore, Plaintiff’s North Dakota Judgment against Defendant should

be determined nondischargeable pursuant to section 523(a)(6) of the Bankruptcy

Code.

   3. Defendants’ Defenses

        1.       Defendant asserts that none of the provisions of §523 as pleaded by

Plaintiff are applicable to her, and that the proofs do not support any findings against

her under §523(a)(2)(A), (a)(2)(B), (a)(4) or (a)(6), and therefore, that a non-

dischargeable Judgment should not enter against her.

   4. Stipulation of Facts and Law

              a. Stipulation of Facts

        1.       On September 12, 2019, Plaintiff obtained a default judgment against

the Defendant, against Joseph and against DuMouchelle Jewellers on September 12,

2019 in the Northwest District Court, Williams County, North Dakota in the total

amount of $17,140,031.62 (the “Judgment”).

        2.       The Judgment is comprised of ($16,414,214.61) (the “Yellow Rose

Judgment Amount”) and $725,817.01 for a promissory note granted by Borrowers

to Plaintiff ( the “Note Judgment Amount”).




                                               8
 20-04381-lsg       Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 8 of 30
      3.       Thereafter, Debtors commenced the above-captioned bankruptcy case

(the “Bankruptcy Case”) on October 11, 2019 (the “Petition Date”) by filing a

voluntary petition for relief under title 11, chapter 11 of the United States Code ( the

“Bankruptcy Code”). That case was converted to a Chapter 7 in December of 2019,

after a motion was filed by the UST seeking conversion.

      4.       On or about September 22, 2020, Plaintiff commenced the above-

captioned adversary proceeding against Debtors in the instant Bankruptcy Case (the

“Adversary Proceeding”) by filing a complaint seeking a determination of

nondischargeability pursuant to sections 523(a)(2)(A), (B), (4) and (6) of the

Bankruptcy Code as presented in Plaintiff’s Second Amended Complaint [ECF No.

91] (the “Complaint”).

      5.       On July 17, 2023 the Court dismissed Joseph from the Adversary

Proceeding following his criminal conviction in the Federal District Court for the

Eastern District of Michigan [ECF No. 118].


The Yellow Rose Transaction

      1.       On January 28, 2019, Joseph sent Plaintiff what appeared to be an

appraisal of The Yellow Rose dated January 31, 2011 (the “January 2011

Appraisal”).

      2.       Pursuant to a letter agreement dated January 31, 2019, Plaintiff and

Joseph agreed that Plaintiff would be the purchaser of The Yellow Rose, in his name,


                                             9
 20-04381-lsg     Doc 190   Filed 09/30/24       Entered 09/30/24 21:24:11   Page 9 of 30
from the seller, for $12 million and Joseph would facilitate the subsequent sale of

The Yellow Rose on Plaintiff’s behalf (the “Yellow Rose Purchase Agreement”).

      3.     Defendant was not a signatory to the Yellow Rose Purchase Agreement.

      4.     Per the Yellow Rose Purchase Agreement, an escrow account was to

be established at Plaintiff’s bank by Plaintiff, into which the $12 million would be

funded and from which the purchase price of The Yellow Rose would be paid.

      5.     Per the Yellow Rose Purchase Agreement, upon receipt of The Yellow

Rose, Joseph, as Plaintiff’s agent, represented that he would store The Yellow Rose

at a Brinks facility in Detroit, Michigan and obtain insurance over the same.

      6.     The Yellow Rose Purchase Agreement stated that the profit from the

sale was to be divided between Plaintiff and Joseph, per a sliding scale.

      7.     On January 31, 2019, Plaintiff sent an email to both Defendant and

Joseph that included as an attachment the executed copy of the Yellow Rose

Purchase Agreement (the “January 31, 2019 Email”). In the body of the January 31,

2019 Email, Plaintiff asked whether Defendant should be added as a party to the

Yellow Rose Purchase Agreement.

      8.     The Debtors did not respond to this email, as, on the same day, January

31, 2019, Joseph sent an email to Plaintiff that indicated he needed proceeds to

purchase The Yellow Rose (the “January 31, 2019 Wire Instructions Email”) as per




                                           10
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 10 of 30
the Yellow Rose Purchase Agreement and provided the following wiring

information:

               Bank Name:                              MB Financial Bank
               Account Name:                           Highland Wealth Management
               Bank Routing Number:                    071001737
               Account Number:                         XXXXX79802

(the “MB Financial Bank Account”).

      9.       Joseph represented in the January 31, 2019 Wire Instructions Email that

Highland Wealth Management was the seller of The Yellow Rose.

      10.      On February 1, 2019, Plaintiff initiated a wire transfer to the MB

Financial Bank Account.

      11.      MB Financial Bank did not accept the wire transfer.

      12.      Pursuant to an email dated February 1, 2019 (the “February 1, 2019

Email”), Joseph directed Plaintiff to wire the $12 million to the following new

account of the seller (the “FineMark Account”):

               Bank Name:                              FineMark Bank & Trust
               Account Name:                           Fine & Estate Appraisers, LLC
               Bank Routing Number:                    067016231
               Account Number:                         XXXXX46380

      13.      Joseph represented that the FineMark Account was the account of Fine

& Estate Appraisers, LLC, with the wiring instructions being provided by the seller

or the seller agent of The Yellow Rose, Richard Drucker, based on the February 1,




                                             11
20-04381-lsg     Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 11 of 30
2019 Email containing the above information under an email allegedly authored by

Richard Drucker and forwarded to Joseph.

      14.   On February 4, 2019, Plaintiff initiated a wire transfer to the FineMark

Account.

      15.   FineMark Bank did not accept the wire transfer and the funds were

remitted back to Plaintiff on February 5, 2019.

      16.   The FineMark Account was not the bank account of the seller or of the

seller representative of The Yellow Rose.

      17.   Richard Drucker was not the seller or the seller representative of The

Yellow Rose.

      18.   Defendant opened the DuMouchelle Jewellers Bank of America

Account ending in 0585 (the “Bank of America Account”) as sole signatory on

February 5, 2019.

      19.   Joseph sent an email on February 6, 2019 (the “February 6, 2019

Email”) that directed Plaintiff to wire the $12 million to the following new account

of the seller of The Yellow Rose:

      Bank Name:                                     Bank of America
      Account Name:                                  Fine & Estate Appraisers, LLC
      Bank Routing Number:                           0260009539
      Bank Account Number:                           XXXXX60585




                                           12
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 12 of 30
      20.    Bank of America accepted the $12 million wire from Plaintiff to the

Bank of America Account (the “$12 Million Transfer”).

      21.    The Bank of America Account was the account of DuMouchelle

Jewellers.

      22.    On February 6, 2019, Plaintiff initiated a wire transfer to the Bank of

America Account.

      23.    Joseph provided Plaintiff with a receipt from Joseph DuMouchelle

International Auctioneers, dated February 6, 2019, allegedly evidencing the

purchase of The Yellow Rose for $12 million (the “The Yellow Rose Purchase

Receipt”).

      24.    The $12 million wired into the Bank of America Account was not used

to purchase The Yellow Rose.

      25.    On February 7, 2019, Defendant, under her signature, caused “Out of

State Counter Withdrawals” to occur on the Bank of America Account, in the

amounts of $39,000.00, $1,091,769.44 and $4,041,925.00 each (a total of

$5,172,694.44).

      26.    The $12 million in wire transfer proceeds were utilized in part as

follows:




                                           13
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 13 of 30
      27.    On the day that Defendant initiated the, February 7, 2019 transfers at a

Bank of America retail branch, Defendant was in Arizona.

      28.    None of Plaintiff’s proceeds were used to purchase The Yellow Rose.

      29.    Joseph represented to Plaintiff that The Yellow Rose would be moved

from the Brinks depository in Texas to the Brinks depository in Michigan, to be held

in the joint names of Plaintiff and Joseph, although at all times owned by Plaintiff.

      30.    Joseph never purchased The Yellow Rose, Defendant never purchased

The Yellow Rose and DuMouchelle Jewellers never purchased The Yellow Rose.

      31.    The Yellow Rose was never transferred from a Brinks depository in

Texas to a Brinks depository in Michigan.



                                           14
20-04381-lsg    Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 14 of 30
      32.    Plaintiff prepared a draft sale agreement for The Yellow Rose with the

understanding that Joseph had purchased The Yellow Rose and located a buyer for

The Yellow Rose and emailed the same to Joseph on March 21, 2019 (the “Draft

Sale Agreement”).

      33.    Joseph, as agent for Plaintiff, signed the Draft Sale Agreement on April

12, 2019, for the subsequent sale of The Yellow Rose for $16.5 million to Sam

Haggin, Trustee of the Jennifer H. Rands Trust (the “April 12, 2019 Letter

Agreement”).

      34.    Per the April 12, 2019 Letter Agreement, the sale was to be

consummated by April 22, 2019.

      35.    On April 21, 2019, the day before the alleged closing under the April

12, 2019 Letter Agreement, Plaintiff traveled to Detroit, in order to view The Yellow

Rose at the Brinks depository on April 22, 2019, where it allegedly resided pending

the closing and transfer to the Jennifer H. Rands Trust.

      36.    Joseph did not show Plaintiff The Yellow Rose on April 22, 2019

because, per Joseph, the Brinks facility was “closed” on that day. Plaintiff believes

this was a pretext.

      37.    Plaintiff never received a return of the $12 Million Transfer.

      38.    Neither Defendant, Joseph, nor DuMouchelle Jewellers ever purchased

The Yellow Rose from its then-owner.



                                           15
20-04381-lsg    Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 15 of 30
         39.   On June 16, 2020, the United States of America filed an Information

against Joseph in the United States District Court for the Eastern District of

Michigan, Southern Division, styled as United States of America v. Joseph Gregory

DuMouchelle, [ECF No. 1, Case No. 20-20245] (“Criminal Proceeding”).

         40.   The Information is 24 paragraphs in length, but alleged, in summary,

among other things, that Joseph “by means of false and fraudulent material promises,

pretenses and representations:” “instructed TR to transfer $12,000,000 for the

purchase of the Yellow Rose;” “falsified documents and emails making it appear

that the account the money would be wired to was in fact the seller’s;” “sent the false

information to TR with directions to wire the money to the account with a notation

that it was for the benefit of the seller represented by RD;” “sent TR a fraudulent

receipt making it appear that the Yellow Rose had been purchased;” and “caused the

transmission of wire communications in interstate commerce in the form of an

interstate wire transfer of funds in the amount of $12,000,000 from TR’s bank

account in Chandler, Arizona (sic) DuMouchelle’s Bank of America account in

Bloomfield Hills, Michigan.”

         41.   On September 14, 2020, in response to the criminal charges set forth in

the Information, Joseph pled guilty to wire fraud on all four elements of 18 U.S.C.

§1343 in which Joseph admitted to each of the elements of federal criminal wire

fraud.



                                             16
20-04381-lsg     Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 16 of 30
      42.     On September 14, 2020, Joseph appeared for his Guilty Plea Hearing,

wherein he testified before the Court regarding his criminal fraudulent conduct. By

his testimony, Joseph attested that he committed acts that satisfied each of the

elements of criminal wire fraud and admitted to causing Plaintiff damages of $12

million by his conduct.

      43.     In his Criminal Proceeding, Joseph admitted to the damages caused to

Plaintiff by Joseph’s criminally fraudulent conduct.

            b. Stipulated Law

      1.      The parties stipulate that this is an adversary case under Sections

523(a)(2)(A) and (B), (4) and (6). of the Bankruptcy Code.

      2. Defendant does not stipulate that any of these provisions are applicable to

her, or that a non-dischargeable Judgment is merited under any of said provisions.

   5. Issues of Fact to be Litigated

The Yellow Rose Judgment Amount

      1.      Whether Defendant obtained Plaintiff’s $12 million through false

pretenses, false representations or actual fraud.

      2.      Whether Defendant used a statement or statements in writing regarding

hers, Joseph’s or DuMouchelle Jewellers’ financial condition, that were materially

false, respecting Defendant’s, Joseph’s or DuMouchelle Jewellers’ financial

condition, upon which Plaintiff reasonably relied when he transmitted money to

                                            17
20-04381-lsg     Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 17 of 30
DuMouchelle Jewellers, that Defendant caused to be made or published with intent

to deceive Plaintiff.

        3.   Whether Defendant committed embezzlement or larceny in the

redirection of Plaintiff’s money to purposes other than the acquisition of The Yellow

Rose.

        4.   Whether Defendant willfully or maliciously injured Plaintiff by making

use of Plaintiffs money for purposes other than those intended by Plaintiff.

        5.   Whether a telephone call took place with Plaintiff in early May 2019,

whether it included Defendant, and whether in that phone call Defendant and Joseph

promised to wire $2 million to Plaintiff for repayment on The Yellow Rose

Transaction. And further whether that phone call, if found, is indicative of

Defendant’s participation in the fraud committed against Plaintiff.

        6.   Whether Plaintiff sent an email to Joseph and Defendant dated May 13,

2019 (the “May 13, 2019 Email”) inquiring about the status of the wire transfer of

$2 million demonstrates Defendant’s participation in the fraud against Plaintiff.

        7.   Whether Plaintiff sent an email to Defendant and Joseph on June 10,

2019 (the “June 10, 2019 Email”) again inquiring about the status of The Yellow

Rose Transaction and Debtors did not respond to the June 10, 2019 Email.




                                           18
20-04381-lsg    Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 18 of 30
      8.     That Plaintiff sent an email to Defendant and Joseph on June 21, 2019

(the “June 21, 2019 Email”) requesting Debtors to return his $12 million and Debtors

did not respond to the June 21, 2019 Email.

      9.     That Plaintiff sent an email to Defendant and Joseph on July 2, 2019

(the “July 2, 2019 Email”) Debtors did not respond to the July 2, 2019 Email.

      10.    Whether Defendant’s failure to respond, resolve, investigate or inquire

about the reason for each of Plaintiff’s May 13, 2019 Email, June 10, 2019 Email,

June 21, 2019 Email and July 2, 2019 Email demonstrates Plaintiff’s participation

in and/or knowledge of the fraud against Plaintiff.

      11.    Whether Defendant’s failure to initiate the promised $2 million wire

payment to Plaintiff referenced in the May 13, 2019 Email is indicative of

Defendant’s participation in and continued concealment of the fraud committed

against Plaintiff.

The Promissory Note Judgment Amount

      12.    Whether the Promissory Note Judgment Amount related to two

promissory notes that each of the Borrowers executed and were payable to Plaintiff

is nondischargeable as to Defendant.

      13.    Defendant’s knowledge of and participation in, transmitting the

January 20, 2014 letter to Plaintiff affirming that Defendant, Joseph and




                                           19
20-04381-lsg    Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 19 of 30
DuMouchelle Jewellers were in good financial standing and did not have any liens

or judgments against them (the “January 2014 Financial Statement”).

      14.   Whether as a result of the January 2014 Financial Statement, Plaintiff

agreed to and did loan $350,000.00 to the Borrowers.

      15.   Whether Defendant and Joseph executed a Promissory Note, in favor

of Plaintiff, dated February 12, 2014, in the principal amount of $350,000.00, which

was executed by Debtors on February 19, 2014 (the “350,000 Note”) together with

a grant of lien on jewelry items purchased, equal to 150% of the $350,000 Note

balance.

      16.   Neither Defendant, Joseph nor DuMouchelle Jewellers made any

payment on the $350,000 Note.

      17.   That Joseph executed a new promissory note, in favor of Plaintiff, dated

for August 12, 2014 but executed on November 7, 2014, in the principal amount of

$430,000 (the “$430,000 Note” and together with the $350,000 Note, the “Notes”).

      18.   That Joseph negotiated for extensions of the principal payments due

under the $430,000 Note twice yearly in 2015 through 2017.

      19.   That on May 16, 2017, Defendant, Joseph and DuMouchelle Jewellers

executed a Renewed and Extended Promissory Note with a due date of November

16, 2017 (the “May 16, 2017 Extension”).




                                           20
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 20 of 30
      20.      Whether as a condition of the May 16, 2017 Extension Defendant,

Joseph and DuMouchelle Jewellers agreed to pay $430,000, plus interest of

$64,500.00, on or before November 16, 2017 (the “May 16, 2017 Extension

Payment”).

      21.      That on or about January 17, 2018, Joseph executed and delivered to

Plaintiff a Renewed and Extended Promissory Note, effective November 16, 2017,

in the amount of $430,000 plus accrued but unpaid interest (the “January 17, 2018

Extension”).

      22.      That as a condition of the January 17, 2018 Extension was the payment

of the principal amount of $430,000, plus accrued interest, on or before May 16,

2018 (the “January 17, 2018 Extension Payment”).

      23.      That Plaintiff only received a single payment of $64,500.00 on the

$430,000 Note on September 26, 2017. Joseph made no other payments on the

$430,000 Note thereafter.

      24.      Defendant’s involvement in the Promissory Note transactions and

whether the Promissory Note transactions were Defendant’s false representations of

her intent to repay the Promissory Notes.

   6. Issues of Law to be Litigated

      1.       All of the issues of fact identified above to the extent they contain

mixed issues of fact and law.



                                             21
20-04381-lsg     Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 21 of 30
      2.     Whether Defendant’s acts and/or conduct support a finding of her

nondischargeability pursuant to sections 523(a)(2)(A), (B), (4) and (6) of the

Bankruptcy Code.

      3.     Whether the plain reading of 523(a)(2)(A), (B), and (4) of the

Bankruptcy Code impose nondischargeable liability for Plaintiff’s Judgment against

Defendant irrespective of Defendant’s actions and/or knowledge of the fraud.

      4.     Whether, in the alternative to Defendant’s direct nondischargeable

liability under sections 523(a)(2)(A) and (B), (4) and (6) of the Bankruptcy Code,

Defendant may be held vicariously liable for Joseph’s fraudulent and wrongful acts.

   7. Evidence Problems Likely to Arise at Trial

      To the extent the Plaintiff or the Defendant attempt introduce documents to

support Plaintiff’s claims or Defendant’s defenses that were not produced or

adequately identified during discovery, the parties reserve the right to object to the

admission of such evidence.

      Plaintiff contends that Defendant or Joseph have admitted to the following

facts in this Adversary Proceeding or in Joseph’s Criminal Proceeding and therefore

are the law of the case that should be adopted by this Court:

      1.     Prior to the dispute that resulted in the Judgment, Plaintiff and

Defendant had a long-standing personal relationship.




                                           22
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 22 of 30
      2.     Defendant and Joseph founded DuMouchelle Jewellers in the State of

Michigan in 1996 as a member managed company.

      3.     DuMouchelle Jewellers operated as a fine jewelry appraisal and

auctioneer business until the end of 2019.

      4.     Defendant at all times served as the vice president and held a 10 percent

membership interest in DuMouchelle Jewellers.

      5.     Defendant’s role in DuMouchelle Jewellers involved the appraisal and

brokering of jewelry.

      6.     Defendant held check writing authority, and, as an agent of

DuMouchelle Jewellers, she regularly communicated with DuMouchelle Jewellers’

customers.

      7.     Defendant is a trained gemologist, a member of the boards of the

Michigan Jewelers Association, Accredited Gemologists Association, and she also

indicated that she served as the GIA Alumni-Michigan Chapter President and is a

member of the National Association of Jewelry Appraisers and the American

Society of Appraisers.

      8.     On January 25, 2019, Defendant transmitted by email to Plaintiff a

“data package” with pictures and information related to The Yellow Rose that also

included photos and information of comparable diamonds (the “January 25 2019




                                           23
20-04381-lsg   Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 23 of 30
Email”). Defendant spoke with Plaintiff regarding The Yellow Rose prior to January

31, 2019.

      9.       At the time the account was opened Defendant was aware that Plaintiff

was attempting to wire funds to DuMouchelle Jewellers for The Yellow Rose

transaction.

      10.      The account was opened to facilitate receipt of Plaintiff’s $12 million.

      11.      At the time that the $12 million was wired into the Bank of America

Account, Defendant was the only signatory to the account.

      12.      Joseph represented that the Bank of America Account was the account

of Fine & Estate Appraisers, LLC, with the wiring instructions being provided by

the seller or of the seller agent of The Yellow Rose, Richard Drucker allegedly of

Gemguide, based on the February 6, 2019 Email containing the above information

under an email allegedly authored by Richard Drucker of Gemguide and forwarded

to Joseph.

      13.      Just prior to the $12 million wire transfer into the Bank of America

Account, the Bank of America Account balance was $500.

   8. Witnesses

      (a)      Plaintiffs’ Witnesses:

               Will call:   (a)   Plaintiff (fact witness)

               May call:    (a)   Teodor Gelov (fact witness)
                            (b)   Melinda Adducci (“M. Adducci”) (fact witness)

                                             24
20-04381-lsg     Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11   Page 24 of 30
                          (c) Lauren Lynch (fact witness)
                          (d) Joseph Adducci
                          (e) Dennis Egan
                          (f)   Joel Harris
                          All witnesses disclosed or identified by Defendant in this
                          adversary proceeding
                          (e) All necessary foundational or authentication
                          witnesses
                          (f)   All rebuttal witnesses


     (b)   Defendants’ Witnesses:

           Will Call:     (a) Defendant Melinda Adducci (fact witness)

           May Call:

                          (a)   Lauren Lynch (fact witness)
                          (b)   Thomas T. Ritter (Plaintiff, fact witness)
                          (c)   All witnesses disclosed or identified by Plaintiff in
                                this adversary proceeding
                          (d)   All necessary foundational or authentication
                                witnesses
                          (e)   All rebuttal witnesses

  9. Exhibits

     (a)   Stipulated Joint Exhibits:

 Exhibit        Description
 No.
 1              Photo, The Yellow Rose
 2              Bank of America Bank Counter Checks
 3              Bank of America Cashier’s Checks
 4              Bank of America Business Checking Account Signature Cards
 5              Bank of America DuMouchelle’s Jewellers Feb. 2019 Statement
 6              September 12, 2019 Williams County District Court, North Dakota,
                Findings of Fact and September 16, 2019 Williams County District
                Court, North Dakota, Judgment

                                           25
20-04381-lsg    Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 25 of 30
 Exhibit       Description
 No.
 7             January 25, 2019 – January 28, 2019 Email Chain and Attachment
 8             January 30, 2019 Letter Agreement re Purchase of The Yellow Rose
 9             January 31, 2019 Email from Plaintiff to Joseph DuMouchelle (J.
               DuMouchelle) and M. Adducci
 10            January 31, 2019 Wire Information Emails from J. DuMouchelle
 11            February 1, 2019 Wire Information Email from J. DuMouchelle
 12            Chase wire form to Highland Wealth Management
 13            February 6, 2019 Email by J. DuMouchelle to Plaintiff
 14            Chase wire form to FineMark National Bank and Trust
 15            February 6, 2019 Receipt re The Yellow Rose
 16            February 7, 2019 Brinks Request for Hawb Label
 17            March 20, 2019 Draft Letter Agreement re The Yellow Rose
 18            March 24, 2019 email chain between Plaintiff to J. DuMouchelle
 19            April 12, 2019 Letter of Authority re The Yellow Rose signed by Sam
               Haggin
 20            May 13, 2019 Email from Plaintiff to J. DuMouchelle and M.
               Adducci
 21            June 10, 2019 Email from Plaintiff to J. DuMouchelle and M.
               Adducci
 22            June 21, 2019 Email from Plaintiff to J. DuMouchelle and M.
               Adducci
 23            July 2, 2019 Email from Plaintiff to J. DuMouchelle and M. Adducci
 24            August 30, 2019 Affidavit of Plaintiff
 25            June 16, 2020 J. DuMouchelle Information
 26            September 17, 2020 Rule 11 Plea Agreement
 27            Bank of America Withdrawal Slips signed by M. Adducci
 28            June 14, 2019 Email from R. Gostevsky to J. Whipple
 29            Defendant’s Response to Plaintiff’s Discovery Request [ECF No. 63]
 30            June 7, 2019 Deposition Transcript of J. DuMouchelle
 31            June 6, 2019 Deposition Transcript of M. Adducci
 32            September 3, 2019 (pm) Deposition Transcript of M. Adducci
 33            Video Deposition of M. Adducci September 3, 2019
 34            Video Deposition of M. Adducci June 6, 2019
 35            J. DuMouchelle Guilty Plea Hearing Transcript
 36            July 27, 2022 Opinion and Order re Defendant’s Objections to the
               Presentence Investigation Report


                                          26
20-04381-lsg   Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 26 of 30
  Exhibit        Description
  No.
  37             July 27, 2022 Opinion and Order re The Amount of Loss and
                 Restitution
  38             Opinion & Order re Application of the Sophisticated Means
                 Enhancement
  39             Order (1) Granting The Government’s Application To Amend The
                 Preliminary Order Of Forfeiture (Dkt. 100) And (2) Amending The
                 Preliminary Order Of Forfeiture (Dkt. 41)
  40             Criminal Judgment
  41             February 14, 2023 Sixth Circuit Appellate Order
  42             Rule 341 transcript of M. Adducci
  43             March 7, 2019 Recording of call between Ted Gelov, M. Adducci and
                 J. DuMouchelle
  44             Transcripts (written and video) of depositions to be taken in Teodore
                 Gelov v. M. Adducci and Plaintiff v. M. Adducci adversary
                 proceedings scheduled for September 23, 2024 and September 30,
                 2024
  45             3 Photos of Lindy with the Yellow Rose Diamond, produced in
                 discovery

       (b)   Plaintiff’s Exhibits:

       Plaintiff reserves the right to supplement this list to the extent necessary and

to include any rebuttal exhibits not identified herein. Plaintiff also reserves the right

to utilize additional documents at trial, if necessary, for impeachment purposes.

       (c)   Defendant’s Exhibits:

 Exhibit        Description
 Letter
 A              Any of the documents listed above by Plaintiffs or as Joint Exhibits
 B              Any and all pleadings, documents, or papers from the state Court
                case involving these parties.
 C              Any and all documents and discovery responses exchanged in this
                case.
 D              Proof of 2019 GIA Event in Tuscon, AZ


                                            27
20-04381-lsg    Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11    Page 27 of 30
      Defendant reserves the right to supplement this list to the extent necessary and

to include any rebuttal exhibits not identified herein. Defendant also reserves the

right to utilize additional documents at trial, if necessary, for impeachment purposes.

   10.Objections to Exhibits.

      None. However, both parties reserve the right to object to the admissibility of

any exhibits not expressly identified herein above, and to any exhibit, whether or not

listed, on any valid evidentiary basis, including without limitation, on the basis of

authentication. However, both parties agree that custodians of records shall not be

required to present exhibits; rather, each party may testify to how such document

was obtained, thereby authenticating the documents.

   11.Damages

      Plaintiff is seeking a judgment of nondischargeability against Defendant in

the amount of the North Dakota Judgment of $17,140,031.62 plus interest at the

applicable federal judgment interest rate. Plaintiff’s damages are comprised of

$16,414,214.61 for The Yellow Rose transaction and $725,817.01 for the

promissory note transactions.

      Defendant asserts that there are no grounds for a non-dischargeable Judgment

to be entered against her.

   12.Trial

      (a)     Non-jury.

                                              28
20-04381-lsg    Doc 190      Filed 09/30/24    Entered 09/30/24 21:24:11   Page 28 of 30
      (b)     Estimated length of trial is one to two days.

   13.Settlement or Mediation

      The parties have continued to consider settlement of the issues for trial and

have not achieved resolution of Plaintiff’s claims. Settlement was last addressed on

or about September 27, 2024. The parties have considered mediation of the issues

involved but have not agreed to participate in formal mediation.

   14.Filing of Trial Briefs, Etc.

      Plaintiff and Defendant request an order of the court authorizing trial briefs to

be filed subsequent to trial.

   15.Additional Requirements

      None.

                                                Respectfully submitted,



TAFT STETTINIUS &                                JOHN R. FOLEY, P.C.
HOLLISTER, LLP


/s/Kimberly Ross Clayson                         /s/Patrick A. Foley
Kimberly Ross Clayson (P69804)                   Patrick A. Foley (P74323)
Jay L. Welford (P34471)                          18572 W. Outer Drive
27777 Franklin, Suite 2500                       Dearborn, MI 48128
Southfield, MI 48034                             313-274-7377
(248) 351-3000                                   pafoley@jrfpc.net
kclayson@taftlaw.com
jwelford@taftlaw.com

Counsel to Plaintiff, Thomas T. Ritter


                                            29
20-04381-lsg    Doc 190    Filed 09/30/24    Entered 09/30/24 21:24:11    Page 29 of 30
                                               Counsel for Defendant, Melinda J.
Dated: September 30, 2024                      Adducci

                                               Dated: September 30, 2024




                                          30
20-04381-lsg   Doc 190   Filed 09/30/24    Entered 09/30/24 21:24:11   Page 30 of 30
